Case 1:17-cr-00232-EGS Document 247 Filed 09/23/20 Page 1of3

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Vv.

Criminal Action No. 17-232-EGS
MICHAEL T. FLYNN,

Defendant.

 

 

Motion to Withdraw Counsel

 

Pursuant to Local Rule of Criminal Procedure 44.5 (d), Lt. General Michael T.
Flynn (Ret.) hereby requests that the Court allow the withdrawal of William H.
Hodes and Lindsay McKasson. Mr. Hodes and Ms. McKasson were admitted Pro Hac
Vice. In light of the Government’s Motion to Dismiss and current status of the case,
General Flynn by his signature hereon authorizes Mr. Hodes’ and Ms. McKasson’s
withdrawal. Undersigned counsel and General Flynn assure the court this will cause
no delay, no prejudice to any party, and General F lynn is fully and ably represented
by current counsel who have briefed all the issues before the court. The Government

has no objection to this motion.

 

Dated: September 23, 2020 Respectfully submitted,
/s/ Jesse R. Binnall /s/ Sidney Powell

Jesse R. Binnall Sidney Powell

Abigail Frye Molly McCann

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Case 1:17-cr-00232-EGS Document 247 Filed 09/23/20 Page 2 of 3

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“Michae lynn
Case 1:17-cr-00232-EGS Document 247 Filed 09/23/20 Page 3 of 3

CERTIFICATE OF SERVICE
I hereby certify that on September 23, 2020 I electronically filed the foregoing
brief with the Clerk of Court using the CM/ECF system. I further certify that the
participants in the case are registered CM/ECF users and that service will be
accomplished by the appellate CM/ECF system. The motion was also hand delivered

to Lt. Gen. Michael T. Flynn, pursuant to Local Rule of Criminal Procedure 44.5 (d).

Respectfully submitted,

/s/_ Jesse R. Binnall

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